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                                     UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
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     UNITED STATES OF AMERICA, et al.,
                                                                 No. C70-9213
7                                         Plaintiffs,            Subproceeding: 01-1
8         v.                                                     ORDER GRANTING THE PARTIES’
                                                                 JOINT MOTION FOR REFERRAL TO
9    STATE OF WASHINGTON, et al.,                                MEDIATION

10                                      Defendants.

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               The parties jointly moved this Court to refer the parties to mediation concerning the 2013
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     Permanent Injunction Regarding Culvert Correction (Doc. 753). Dkt. #823. 1 The Court, having
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     retained continuing jurisdiction over this subproceeding, and having considered the joint motion
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     and all necessary related documents, hereby ORDERS that the joint motion is GRANTED.
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     The Court further ORDERS that:
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               1.     The mediation shall take place in accordance with Local Civil Rule 39.1(a)(6), the
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21   Uniform Mediation Act, Chapter 7.07 RCW, and Rule 408 of the Federal Rules of Evidence. All

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       The joint motion was filed by the Hoh Tribe, Jamestown S’Klallam Tribe, Lower Elwha Klallam Tribe, Lummi
     Nation, Makah Indian Tribe, Muckleshoot Indian Tribe, Nisqually Indian Tribe, Nooksack Indian Tribe, Port Gamble
     S’Klallam Tribe, Puyallup Tribe of Indians, Quileute Tribes, Quinault Indian Nation, Squaxin Island Tribe, Suquamish
24   Tribe, Swinomish Indian Tribal Community, Stillaguamish Tribe of Indians, Skokomish Indian Tribe, Sauk-Suiattle
     Indian Tribe, Tulalip Tribes, Upper Skagit Indian Tribe, Yakama Nation, and the State of Washington.
25   ORDER GRANTING THE PARTIES’ JOINT MOTION
     FOR REFERRAL TO MEDIATION- 1

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     communications related to or in furtherance of the mediation are to remain confidential and
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     protected from disclosure, including all communications in any form between or among: the
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     mediator(s) and any party or combination of parties; or any combination of parties. In the
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     preceding sentence, the term “parties” includes any and all agents of a party participating in the

5    mediation. All documents prepared for or in furtherance of the mediation shall also remain

6    confidential and protected from disclosure, including memoranda, notes, presentations, and

7    internal communications in any form.

8            2.      Except as otherwise provided in this order, the Parties shall not disclose to any

9    person not a Party participating in the mediation any information from the mediation process
10   revealing substantive matters, including the Parties’ positions, negotiations, proposals, or
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     settlement offers made in the negotiation process.
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             3.      The Parties, however, reserve the right to utilize or disclose any information from
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     the mediation process to fully inform decision-makers within their government and to make
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     recommendations to such decision-makers or affected agencies concerning settlement. To the
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     extent a Party conveys information from the mediation process to its decision-makers, the
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     decision-makers’ agreement to be bound by the mediation confidentiality requirements must be
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     secured in advance so that the decision-makers are not free to disclose confidential information.
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             4.      The Parties also reserve the right to use or disclose any information from the
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     mediation process to fully inform United States congressional representatives and State legislators,
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     or their staff, provided that no Party shall provide any written information from the mediation
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     process, whether in paper or electronic form, received from any other party in the mediation

23   process, to such representatives, legislators, or their staff without the consent of the other Parties.

24   If a Party uses or discloses information from the mediation process in a communication with a

25   ORDER GRANTING THE PARTIES’ JOINT MOTION
     FOR REFERRAL TO MEDIATION- 2

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     representative or a legislator, the Parties agree that that Party will promptly notify the other Parties
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     to this agreement that such communication has occurred. The Party will be under no obligation to
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     disclose the content of such communication to the other Parties.
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             5.       The Parties also reserve the right to provide public notice of any agreement

     achieved by, after, or as a result of the negotiation process as may be required by law or
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     established government policy, and to publish a press release concerning any final settlement
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     achieved by or after the mediation process.     The Parties agree to use their best efforts to develop
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     a joint statement or press release on any settlement reached in the mediation.
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             6.       No Party may subpoena any information from the mediation process prepared by
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     or for the mediator, or compel or require the mediator to testify as a witness regarding the
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     negotiation process.
11           7.       It is recognized that a third party may request the production of information from
12   the negotiation process from the state or federal governmental parties under the Washington

13   Public Records Act, Chap. 42.56 RCW (“PRA”), or the Freedom of Information Act, 5 U.S.C.

14   §552(b) (“FOIA”). The governmental party receiving such requests will immediately notify and

15   consult with the other parties to this Order.    The intent of the notice is for the Parties to try to
     agree upon a response to the request, to seek a further protective order from this Court, a state
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     court, or both, before any disclosure.
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             8.       To the extent permitted by State, Tribal, and Federal law, respectively, the
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     confidentiality provisions of this stipulation shall remain in full force and effect without regard
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     to whether any legal actions or issues arising out of the case are settled or concluded by final
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     judgment or otherwise, and shall survive termination of the negotiation process.
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             9.       No party shall be bound by anything said or done during mediation sessions or
22   in communications related to the mediation unless an agreement is reached. Any agreement
23   reached shall be reduced to writing and shall be binding upon all parties to that agreement.
24           10.      Participation in the mediation is voluntary and any party that wishes to withdraw

25   ORDER GRANTING THE PARTIES’ JOINT MOTION
     FOR REFERRAL TO MEDIATION- 3

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     from the mediation may do so at any time.
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             11.      The mediator(s) shall be selected by the parties jointly by agreement. If the
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     parties would like the Court to appoint a District Judge or Magistrate Judge to serve as mediator,
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     they may file a motion with that request.
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             DATED this 3rd day of March, 2025.
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                                                   A
                                                   RICARDO S. MARTINEZ
                                                   UNITED STATES DISTRICT JUDGE
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25   ORDER GRANTING THE PARTIES’ JOINT MOTION
     FOR REFERRAL TO MEDIATION- 4

     No. C70-9213, Subproceeding 01-1 (Culverts)
